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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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     Creative Photographers, Inc.,  )                 CV 21-01133-JVS (Ex)
11                                  )
                                    )                 ORDER OF DISMISSAL UPON
12               Plaintiff,         )
                                    )                 SETTLEMENT OF CASE
13        v.                        )
                                    )
14                                  )
     Urban One, Inc., et al,        )
15                                  )
                 Defendant(s).      )
16                                  )
     ______________________________ )
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18
           The Court having been advised by the counsel for the parties that the above-
19
     entitled action has been settled,
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           IT IS ORDERED that this action be and is hereby dismissed in its entirety
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     without prejudice to the right, upon good cause being shown within 30 days, to reopen
22
     the action if settlement is not consummated.
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24
     DATED: September 30, 2021                      ___________________________
25
                                                       James V. Selna
26
                                                    United States District Judge
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